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    Counsel for The Official
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    In re:                                                       §     Chapter 11
                                                                 §
    NATIONAL RIFLE ASSOCIATION OF AMERICA                        §     Case No. 21-30085-hdh11
    AND SEA GIRT LLC,                                            §
                                                                 §
                     Debtors1.                                   §     Jointly Administered

    THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ COMMENT TO THE
       APPLICATION OF THE DEBTORS FOR AN ORDER AUTHORIZING THE
           RETENTION AND EMPLOYMENT OF ANKURA CONSULTING
          GROUP, LLC AND APPOINTMENT OF LOUIS E. ROBICHAUX IV
               AS THE DEBTORS CHIEF RESTRUCTURING OFFICER

TO THE HONORABLE HARLIN D. HALE,
UNITED STATES BANKRUPTCY JUDGE:

             The Official Committee of Unsecured Creditors (the “Committee”) in the above-captioned

chapter 11 cases (the “Chapter 11 Cases”) filed by the National Rifle Association of America (the

“NRA”) and Sea Girt LLC (“Sea Girt” and collectively with the NRA, the “Debtors”), through the



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   The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.



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Committee’s counsel, Norton Rose Fulbright US LLP, respectfully submits this comment (the

“Comment”) to the Application of the Debtors for an Order Authorizing the Retention and

Employment of Ankura Consulting Group, LLC and Appointment of Louis E. Robichaux IV as the

Debtors’ Chief Restructuring Officer [Dkt. No. 519] (the “CRO Application”). In further support

of the Comment, the Committee respectfully represents as follows:

                               PRELIMINARY STATEMENT

       1.      Since shortly following its appointment, the Committee repeatedly has encouraged

the Debtors to retain a chief restructuring officer (“CRO”) in these Chapter 11 Cases. CROs are

routinely retained in large, complex cases such as these to assist management in the restructuring

process as management typically has no meaningful experience with Chapter 11. Not only is such

experience desperately needed here but, as the Committee previously has opined, the retention of

the right CRO with the proper authority and scope of responsibility, who is unburdened by the

taint of the allegations raised in connection with the pending motions to dismiss or to appoint a

Chapter 11 Trustee, would bring essential stability and much needed credibility to the process,

while instilling confidence and assurance that these Chapter 11 Cases are being independently run

for the benefit of unsecured creditors without undue influence from any internal agendas.

Assuming that certain changes to the scope proposed in the CRO Application are made, the

Committee fully supports the appointment of a CRO in these Chapter 11 Cases and believes that

the proposed CRO, Louis E. Robichaux IV, is well and uniquely qualified to assume such role.

                                       BACKGROUND

       2.      On January 15, 2021 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief pursuant to chapter 11 of Title 11 of the United States Code (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the Northern District of Texas, Dallas Division



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(the “Court”).

           3.    The Debtors continue to operate their business as debtors-in-possession pursuant to

Bankruptcy Code sections 1107(a) and 1108.

           4.    On February 4, 2021, the United States Trustee for the Northern District of Texas

(the “U.S. Trustee”) appointed the Committee pursuant to section 1102 of the Bankruptcy Code.2

See Dkt. No. 105.

           5.    On February 8, 2021, the Committee selected Norton Rose Fulbright US LLP

(“NRF”) as counsel, subject to Court approval. On February 11, 2021, the Committee selected

AlixPartners, LLP as its financial advisor, subject to Court approval. The Court subsequently

entered orders on April 6, 2021, approving the Committee’s retention of NRF and AlixPartners,

respectively. See Dkt. Nos. 489 and 490.

           6.    On February 10, 2021, Ackerman McQueen, Inc. (“Ackerman”) filed the Motion

to Dismiss the Chapter 11 Bankruptcy Petition, or, in the Alternative, Motion for the Appointment

of a Chapter 11 Trustee, and Brief in Support (the “Ackerman Motion”) [Dkt. No. 131] seeking

an order dismissing the Debtors’ Chapter 11 Cases or, in the alternative, appointing a Chapter 11

trustee.

           7.    On February 12, 2021, the People of the State of New York, by Letitia James,

Attorney General of the State of New York (“NYAG”) filed The State of New York’s Motion to

Dismiss, or, in the Alternative, to Appoint a Chapter 11 Trustee (the “NYAG Motion”) [Dkt. Nos.

155 & 156]3 also seeking an order dismissing the Debtors’ Chapter 11 Cases or, in the alternative,




2
   The Committee is comprised of the following entities: (a) the Pension Benefit Guaranty Corp.; (b) Ackerman
McQueen, Inc.; (c) InfoCision, Inc.; (d) Stone River Gear, LLC; and (e) David Dell’Aquila [Dkt. No. 105].
3
  The NYAG appears to have filed an identical and duplicative motion at docket number 163. The defined term
NYAG Motion shall include both motions.



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appointing a Chapter 11 trustee.

        8.       On February 23, 2021, the District of Columbia, through its Attorney General (the

“District,” together with Ackerman and the NYAG, the “Moving Parties”) filed The District of

Columbia’s Motion in Support in the State of New York’s Motion to Appoint Chapter 11 Trustee

(the “District Motion”) [Dkt. No. 214] supporting the NYAG Motion insofar as it seeks the

appointment of a Chapter 11 trustee. On March 26, 2021, the District filed The District of

Columbia’s Motion in Support in the State of New York’s Motion to Dismiss (the “District Motion

to Dismiss,” and together with the District Motion, the Ackerman Motion and the NYAG Motion,

the “Motions”) wherein the District joined in the NYAG’s request to dismiss the Chapter 11 Cases.

        9.       On March 5, 2021, the Debtors filed their Omnibus Opposition to (1) Ackerman

McQueen, Inc.’s Motion to Dismiss the Chapter 11 Bankruptcy Petition, or, in the Alternative,

Motion for the Appointment of a Chapter 11 Trustee, (2) The State of New York’s Motion to

Dismiss or, in The Alternative, to Appoint Chapter 11 Trustee, and (3) The District of Columbia’s

Motion to Appoint Chapter 11 Trustee (the “NRA Objection”) [Dkt. No. 307].4

        10.      On March 16, 2021, the Committee filed The Official Committee of Unsecured

Creditors’ Omnibus Response to (I) Ackerman McQueen Inc.’s Motion to Dismiss the Chapter 11

Bankruptcy Petition, or, in the Alternative, Motion for the Appointment of a Chapter 11 Trustee,

and Brief in Support, (II) the State of New York’s Motion to Dismiss, or, in the Alternative, to


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     On March 5, 2021, Phillip Journey also filed a Limited Objection to the Motions to Dismiss or the Appointment
of Trustee (the “Limited Objection”) [Dkt. No. 306]. The Committee has largely addressed the Limited Objection as
part of the Official Committee of Unsecured Creditors’ Objection to the Motion for Appointment of Examiner [Dkt
No. 354]. Additionally, on March 24, 2021, the U.S. Trustee filed the United States Trustee’s Statement Regarding
Motions Seeking Appointment of Examiner, Trustee, or Case Dismissal [Dkt. No. 405]. Moreover, on March 26,
2021, David Dell’Aquila, a member of the Committee, filed David Dell’Aquila’s Partial Joinder to (I) Ackerman
McQueen Inc.’s Motion to Dismiss the Chapter 11 Bankruptcy Petition or, in the Alternative, Motion for the
Appointment of a Chapter 11 Trustee, and Brief in Support, (II) the State of New York’s Motion to Dismiss, or, in the
Alternative, to Appoint a Chapter 11 Trustee, (III) the District of Columbia’s Motion in Support in the State of New
York’s Motion to Appoint Chapter 11 Trustee, and (IV) the Official Committee of Unsecured Creditors Motion in
Response to (I), (II), and (III) [Dkt. No. 415].



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Appoint a Chapter 11 Trustee and (III) the District of Columbia’s Motion in Support in the State

of New York’s Motion to Appoint a Chapter 11 Trustee (the “Committee Response”) [Dkt. No.

368].5

         11.     On April 7, 2021, the Debtors filed the CRO Application, wherein they request an

order pursuant to section 363(b) of the Bankruptcy Code authorizing the retention and employment

of Ankura Consulting Group, LLC (“Ankura”) to provide chief restructuring officer services, and

appointing Louis E. Robichaux IV to serve as the Debtors’ chief restructuring officer (the “CRO”)

in accordance with the terms and conditions outlined in the engagement agreement dated as of

April 2, 2021, between Ankura and the Debtors (the “Engagement Agreement”). The specific

scope and authority of the CRO is described in section 1 of the Engagement Agreement.

                                                 COMMENT

         12.     The Debtors have proposed an experienced CRO with impeccable credentials and

reputation who is also well known by the Court based upon his other approved engagements in

complex chapter 11 restructurings.

         13.     As set forth in the Committee Response and reiterated in its opening statement at

the start of the trial on the Motions, the Committee has suggested since its appointment that the

retention of the right CRO with the appropriate authority and scope of responsibility would be the

most effective and practical approach to addressing the concerns raised by the Moving Parties in

the Motions.

         14.     While the Committee supports the retention of a CRO, that support is not without

qualification. Namely, the Committee had concerns that the proposed authority and scope of



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    The Committee Response also responds to any joinders to the Motions, including, without limitation, the joinder
of Christopher W. Cox to the Ackerman Motion and NYAG Motion, that was filed on February 17, 2021 [Dkt. No.
172].



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responsibility set forth in the CRO Application was not sufficiently broad to appropriately address

the issues raised in the Motions. Accordingly, the Committee provided the Debtors with a revised

proposed scope for the CRO, a copy of which is attached as Exhibit A.

       15.     The Committee is confident that the retention of Mr. Robichaux as the CRO will

provide much needed transparency in, and credibility to, these Chapter 11 Cases.                More

importantly, the Committee understands that its comments to expand the scope of the CRO have

been accepted by the Debtors and will be incorporated into a revised Engagement Agreement.

With this expanded scope, Mr. Robichaux now should have the necessary authority and scope of

responsibility to: (i) allay any reasonable concerns that the issues regarding the alleged prepetition

improprieties which are the gravamen for the relief requested in the Motions would be repeated

postpetition; and (ii) work with the Debtors, the Debtors’ professionals, the Committee, its

professionals, and other necessary parties in interest to negotiate, propose, and implement a plan

for the Debtors to exit bankruptcy as expeditiously and efficiently as possible. For these reasons,

the Committee supports approval of the CRO Application.

                                          CONCLUSION

       WHEREFORE, the Committee respectfully requests that the Court enter an order

approving the CRO Application with the broader authority and scope of responsibility set forth in

the attached Exhibit A, and granting such other and further relief as is just and proper.

 Dated: April 15, 2021                                Respectfully submitted,

                                                      NORTON ROSE FULBRIGHT US LLP

                                                      By: /s/ Louis R. Strubeck, Jr.
                                                      Louis R. Strubeck, Jr. (SBT 19425600)
                                                      Kristian W. Gluck (SBT 24038921)
                                                      Scott P. Drake (SBT 24026812)
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                                                   Counsel to the Official Committee of Unsecured
                                                   Creditors

                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
document was served electronically through the Bankruptcy Court’s Electronic Case Filing System
on those parties that have consented to such service, on the 15th day of April, 2021.


                                                  /s/ Louis R. Strubeck, Jr.
                                                  Louis R. Strubeck, Jr.




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